Case 4:22-cv-00330-JM Document 16-5 Filed 03/09/23 Page ELECTRONICALLY
                                                        1 of 7         FILED
                                                              Pulaski County Circuit Court
                                                        Terri Hollingsworth, Circuit/County Clerk
                                                           2022-Jan-27 17:30:04
                                                               60CV-22-656
                                                             C06D04 : 7 Pages
Case 4:22-cv-00330-JM Document 16-5 Filed 03/09/23 Page 2 of 7
Case 4:22-cv-00330-JM Document 16-5 Filed 03/09/23 Page 3 of 7
Case 4:22-cv-00330-JM Document 16-5 Filed 03/09/23 Page 4 of 7
Case 4:22-cv-00330-JM Document 16-5 Filed 03/09/23 Page 5 of 7
Case 4:22-cv-00330-JM Document 16-5 Filed 03/09/23 Page 6 of 7
Case 4:22-cv-00330-JM Document 16-5 Filed 03/09/23 Page 7 of 7
